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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


JOHN MICHAEL LEBLANC,
      Plaintiff,
                                      )
                                      )
v.
                                      )
                                      )
BANK OF AMERICA, N.A.; and BAC               No. 2:13-cv-02001-JPM-tmp
                                      )
HOME LOANS SERVICING, LP fka
                                      )
COUNTRYWIDE HOME LOANS
                                      )
SERVICING, LP, CORP.; RUBIN
                                      )
LUBLIN TN, PLLC,
      Defendants.


                                  JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on
Defendant’s Notice of Removal (ECF No. 1), filed January 2,
2013, the parties having stipulated to the dismissal of this
action,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Stipulation of Voluntary Dismissal with
Prejudice (ECF No. 46), filed July 15, 2014, and pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims by
Plaintiff against Defendants are hereby DISMISSED WITH
PREJUDICE.

APPROVED:

/s/ Jon P. McCalla
JON P. McCALLA
UNITED STATES DISTRICT JUDGE

July 16, 2014
Date
